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  IT IS ORDERED as set forth below:



  Date: July 13, 2023
                                                _____________________________________
                                                           Lisa Ritchey Craig
                                                      U.S. Bankruptcy Court Judge

 _______________________________________________________________


                    UNITED STATES BANKRUPTCY COURT
                     NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

IN THE MATTER OF:               :           CASE NUMBER
                                :
CHAN SUK KIM,                   :           21-52662-LRC
                                :
      Debtor.                   :
_______________________________ :
                                :
PRIORITY PAYMENT SYSTEMS, LLC, :            ADVERSARY PROCEEDING
                                :           NO. 21-05112
      Plaintiff,                :
                                :
      v.                        :
                                :
CHAN SUK KIM,                   :           IN PROCEEDINGS UNDER
                                :           CHAPTER 7 OF THE
      Defendant.                :           BANKRUPTCY CODE


                                    ORDER

      Priority Payment Systems, LLC and Chan Suk Kim (the “Parties”) have

requested that they be authorized to participate in mediation with regard to the
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issues in this proceeding. It appears that the most productive form of mediation is

to designate a current bankruptcy judge with no assignment or responsibility for

these proceedings as a settlement judge to serve as a neutral mediator and that

Bankruptcy Judge Mary Grace Diehl is qualified and suitable to serve in that

capacity.

      For good cause shown, it is hereby ORDERED as follows:

      1. The Parties shall mediate the issues and disputes presented in these

proceedings. Judge Diehl is designated as a settlement judge with regard to this

matter for the purpose of conducting mediation proceedings as the neutral

mediator. Such mediation shall be conducted at a time and place and in accordance

with procedures mutually agreed upon by the Parties and Judge Diehl.

      2. Because Judge Diehl will be serving as the neutral mediator in this matter

and because the nature of the mediation process requires ex parte contacts and

communications between the neutral mediator and each of the sides, the

prohibitions of FED. R. BANKR. P. 9003 do not apply to communications among

the Parties, their attorneys, and Judge Diehl in connection with the mediation
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proceedings.    The Parties and their attorneys may, therefore, have ex parte

communications with Judge Diehl in the judge’s capacity as the neutral mediator in

connection with the mediation proceedings.

      3. All communications made by the Parties or their attorneys to each other

or to Judge Diehl in connection with the mediation process, the conduct and

demeanor of the Parties and their counsel during the mediation, and any documents

prepared or produced in connection with the mediation process, including Judge

Diehl’s notes or records, shall be confidential and shall not be admissible in

evidence or the subject of any discovery in any proceeding (unless admissible or

discoverable without regard to the mediation). The mediation sessions and any

conferences or proceedings in connection therewith shall be treated as compromise

negotiations for purposes of the Federal Rules of Evidence, the Georgia Rules of

Evidence, or any rules of evidence of any other jurisdiction. No record will be

made of the mediation proceedings. Judge Diehl is disqualified from appearing as

a witness in any matter, and shall not be called as a witness, with regard to the

mediation or any matter arising out of or related thereto.
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